                                                                                                  5HVHW )RUP

                                    UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 
     1$7$/,( 2&(*8('$ GHULYDWLYHO\RQ                           FY /%
                                                        &DVH1RBBBBBBBBBBBBBBB
    EHKDOIRI)$&(%22.,1&
                                     Plaintiff(s),      APPLICATION FOR
                                                       ADMISSION OF ATTORNEY
             v.
                                                        PRO HAC VICE
    0$5. =8&.(5%(5* HW DO                            (CIVIL LOCAL RULE 11-3)
 
                                     Defendant(s).
 
         I, $QGUHZ % &OXERN                      , an active member in good standing of the bar of
     WKH 'LVWULFW RI &ROXPELD     , hereby respectfully apply for admission to practice pro hac vice in the
   Northern District of California representing: 'HIHQGDQWV                                   in the
                                                                (OL]DEHWK / 'HHOH\
     above-entitled action. My local co-counsel in this case is __________________________________,     an
   attorney who is a member of the bar of this Court in good standing and who maintains an office
   within the State of California.
       MY ADDRESS OF RECORD:                              LOCAL CO-COUNSEL’S ADDRESS OF RECORD:

      /DWKDP :DWNLQV//3(OHYHQWK6W1:         /DWKDP :DWNLQV//30RQWJRPHU\6W
    :DVKLQJWRQ'&                                6XLWH6DQ)UDQFLVFR&$
       MY TELEPHONE # OF RECORD:                          LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
                                              
       MY EMAIL ADDRESS OF RECORD:                        LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
    DQGUHZFOXERN#OZFRP                                HOL]DEHWKGHHOH\#OZFRP
        I am an active member in good standing of a United States Court or of the highest court of
   another State or the District of Columbia, as indicated above; my bar number is:        .
       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

         I declare under penalty of perjury that the foregoing is true and correct.

      Dated:                                           V $QGUHZ % &OXERN
                                                                              APPLICANT


                                     ORDER GRANTING APPLICATION
                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
       IT IS HEREBY ORDERED THAT the application of $QGUHZ % &OXERN                           is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
   designated in the application will constitute notice to the party.

   Dated: September 1, 2020
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                 October 2012
  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



                        Andrew B Clubok
        was duly qualified and admitted on January 6, 1997 as an attorney and counselor entitled to
                    practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                             Court at the City of
                                                                         Washington, D.C., on June 12,
                                                                                     2020.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
